2:25-cv-00374-wks   Document 26-7   Filed 04/02/25   Page 1 of 3




              EXHIBIT 8
          2:25-cv-00374-wks       Document 26-7       Filed 04/02/25      Page 2 of 3




    UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MASSACHUSETTS


     DECLARATION OF VERMONT ASYLUM ASSISTANCE PROJECT DIRECTOR,
                                 JILL MARTIN DIAZ, ESQ.


Pursuant to 28 U.S.C. § 1746, I, Jill Martin Diaz, Esq., Executive Director of Vermont Asylum
Assistance Project and Part-Time Lecturer at the University of Vermont, declare under penalty of
perjury the following:


   1. I am Jill Martin Diaz, my pronouns are they/them, and I am an experienced immigration
      defense attorney licensed to practice in New York (2017), Vermont (2018), and the District
      of Vermont (2022) and living and working in Burlington, Vermont.
   2. I have worked as an immigration defense attorney for about nine years since 2014, my
      second year of law school, and spent my other two years of practice in housing and benefits
      defense at Vermont Legal Aid. Today, I serve as Executive Director of the Vermont
      Asylum Assistance Project (VAAP; www.vaapvt.org), Vermont’s only nonprofit law firm
      dedicated to direct immigration legal service delivery.
   3. At VAAP, I lead a team of two lawyers, dozens of pro bono volunteers, and numerous
      students focused on providing humanitarian immigration legal services to noncitizens in
      Vermont including individuals seeking removal defense. I also teach immigration service
      provision as a part-time lecturer in social work at the University of Vermont; direct legal
      services for Connecting Cultures–New England Survivors of Torture and Trauma
      (NESTT); serve as an appointed member to the Vermont Judiciary’s Access to Justice
      Coalition and the Vermont Treasurer’s Federal Transition Task Force; and co-chair the
      Vermont Bar Association’s Immigration Law Section as well as the Vermont Queer Legal
      Professionals affinity network.
   4. My previous experience includes co-founding and directing the Center for Justice Reform
      Clinic; lecturing in doctrinal immigration law at Vermont Law and Graduate School;
      practicing as a Vermont Poverty Law Fellow at Vermont Legal Aid; and practicing as an
      Immigrant Justice Corps Fellowship at Sanctuary for Families in New York City. I received
      my Juris Doctor degree, cum laude in 2016 from Brooklyn Law School and my Bachelor
      of Arts degree, summa cum laude in 2008 from the George Washington University.
   5. Over my eleven years in the legal profession, I have defended detained and nondetailed
      Vermont and New York respondents in removal proceedings and custody matters in New
      York, New Jersey, Massachusetts, and Texas Immigration Courts. My removal defense
      practice experience has included work with Vermont Law and Graduate School’s Center
      for Justice Reform Clinic, Sanctuary for Families New York, Brooklyn Defender Services,
      Immigrant Defense Project, and Atlas: Developing Immigrant Youth.
   6. The St. Albans Immigration and Customs Enforcement (ICE) Office serves as a
      subordinate office to the ICE Boston Field Office and is where ICE conducts Enforcement
      and Removal Operations including supervision. It is a small administrative office that has
            2:25-cv-00374-wks         Document 26-7        Filed 04/02/25       Page 3 of 3




         been staffed by visiting officers on secondment from southern districts for several years
         since marked attrition over 2020 and 2021. In my years of practice in Vermont, I have only
         ever seen or heard of people being detained at the St. Albans office upon initial arrest in
         Vermont. I have never previously seen or heard of people from other states being
         transferred into the St. Albans Office for detention.
      7. Last year, ICE Boston Field Office and St. Albans Sub-Office leadership called a meeting
         with Vermont immigration legal services providers in Burlington, Vermont to introduce us
         to new management who would be permanently staffing the office. There, I had the chance
         to personally meet with Boston and St. Albans ICE leadership, solicit their practice and
         prosecutorial discretion priorities, exchange contact information to facilitate more efficient
         resolution of represented parties’ immigration custody and removal proceedings. I
         understood from this engagement and have heard confirmed by numerous and pro bonos I
         supervise, that the St. Albans office is a small, simple administrative office not suitable for
         long-term custody and detention.
      8. Moreover, in my seven years of practicing in Vermont and serving as a local expert on
         immigration matters, I have never once encountered the case of a detained person who is
         being transferred into Vermont for the purposes of continued ICE detention. I have only
         encountered individuals being held in Vermont who were initially detained in Vermont and
         being held temporarily on their way to longer term detention in nearby over-72-hour
         facilities. It is even more extraordinary for a person to be transferred into the St. Albans
         ICE office, which is a government office and not a detention facility.
WHEREFORE, I declare under penalty of perjury under the laws of the United States of America
that the foregoing is true and correct. Executed at Washington, D.C. on this 2nd day of April, 2025.
Respectfully Submitted,
/s/
Jill Martin Diaz, Esq.
Executive Director
